                       Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    1 of 1106
                                                                           of 106
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    2 of 2106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    3 of 3106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    4 of 4106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    5 of 5106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    6 of 6106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    7 of 7106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    8 of 8106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    9 of 9106
                                                                           of 106




                          Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    10 of10106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    11 of11106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    12 of12106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    13 of13106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    14 of14106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    15 of15106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    16 of16106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    17 of17106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    18 of18106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    19 of19106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    20 of20106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    21 of21106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    22 of22106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    23 of23106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    24 of24106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    25 of25106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    26 of26106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    27 of27106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    28 of28106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    29 of29106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    30 of30106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    31 of31106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    32 of32106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    33 of33106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    34 of34106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    35 of35106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    36 of36106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    37 of37106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    38 of38106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    39 of39106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    40 of40106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    41 of41106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    42 of42106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    43 of43106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    44 of44106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    45 of45106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    46 of46106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    47 of47106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    48 of48106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    49 of49106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    50 of50106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    51 of51106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    52 of52106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    53 of53106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    54 of54106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    55 of55106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    56 of56106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    57 of57106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    58 of58106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    59 of59106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    60 of60106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    61 of61106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    62 of62106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    63 of63106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    64 of64106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    65 of65106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    66 of66106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    67 of67106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    68 of68106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    69 of69106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    70 of70106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    71 of71106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    72 of72106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    73 of73106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    74 of74106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    75 of75106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    76 of76106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    77 of77106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    78 of78106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    79 of79106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    80 of80106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    81 of81106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    82 of82106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    83 of83106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    84 of84106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    85 of85106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    86 of86106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    87 of87106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    88 of88106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    89 of89106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    90 of90106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    91 of91106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    92 of92106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    93 of93106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    94 of94106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    95 of95106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    96 of96106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    97 of97106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    98 of98106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    99 of99106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    100 100
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    101 101
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    102 102
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    103 103
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    104 104
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    105 105
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
Case
   Case
     19-36314
         19-36313
                Claim
                   Document
                      58-1 Filed
                            1229-1
                                 03/25/20
                                     Filed inDesc
                                              TXSBMain
                                                   on 03/26/20
                                                       DocumentPage
                                                                  Page
                                                                    106 106
                                                                        of 106
                                                                            of 106




                           Exhibit A: TenFour's Objection to Cure Costs
